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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION

UNITED STATES OF AMERICA

VS.                                                CASE NO: 2:14-cr-2-FtM-38DNF

STEVEN JOSEPH RIZZA and
JONATHAN ROBERT MAUSE



                                       ORDER

       This matter comes before the Court on the United States’ Motion to Strike

Defendant Jonathan Robert Mause’s Reply (Doc. #40) filed on April 7, 2014.          The

Government moves to strike the reply to the pending Motion to Sever filed by Counsel

for the Defendant Jonathan Robert Mause. As grounds, the Government indicates that

the reply should be stricken because leave of Court was not obtained prior to its filing

pursuant to Local Rule 3.01(c). The Court agrees. The reply will be stricken for failure

to seek leave prior to filing.

       Accordingly, it is now ORDERED:

       The United States’ Motion to Strike Defendant Jonathan Robert Mause’s Reply

(Doc. 40) is GRANTED. The Clerk is directed to strike the Reply to the Government’s

Response to the Motion to Sever (Doc. #37).

       DONE AND ORDERED at Fort Myers, Florida, this April 11, 2014.




Copies: Counsel of Record
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